Case 3:22-cv-04082-AGT Document 57 Filed 06/13/24 Page 1of5

Jarrod Jones

1850 W Orangethorpe Ave
Fullerton, California, 92833
(714) 497-0035

jarrod@stangranch.com
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS, Case No.: 22-cv-04082-AGT

Plaintiff,
VS. ANSWER TO COMPLAINT
JARROD JONES,

Defendant

Defendant John Doe, AKA Jarrod Jones, (hereafter “Defendant”) hereby answers the Complaint of Plaintiff

David Stebbins (“Plaintiff”) and asserts its Affirmative Defenses as follows:

JURISDICTION AND VENUE

1. Denied in part; admitted in part.
2. Admitted.

3. Denied. Defendant is now known.
4. Admitted.

5. Admitted.

FACTS OF THE CASE

6. Denied. Singular sentence paragraph has no barring on characterization of Defendant.

7. Denied. Plaintiff uses misunderstanding of law to strong arm debate applicants to ‘give up’
their copyright based on a “solely responsible” agreement meant for ‘TV Studio Cameraman’
and not a stream. If the Plaintiff has full copyright as per contractual agreement, then the
Plaintiff should show that contract. (Exhibit A.) The Plaintiff should have a ‘Work For Hire’
contract for such.

8. Denied. Lacks sufficent knowledge.

ANSWER TO COMPLAINT - 1

Case 3:22-cv-04082-AGT Document 57 Filed 06/13/24 Page 2 of 5

10.

11.

12.

13.

14.

15.

16.

17.

18.

Denied. Plaintiff's lack of knowledge of law is shown; the registration process should be
completed before an infringement suit can follow. As though the Plaintiff assumes that the
application for copyright just needs to be submitted and not fully enacted before filing an
infringement case. This infringement was allegedly done well after the live broadcast, and not
prior. As the case Fourth Estate Public Corp v. Wall-Street. com, LLC, 139 S. Ct. 881 (2019)
covers.

Admitted. Plaintiff does advertise the livestream access in exchange for a $1 YouTube
membership.

Denied. Defendant was actively paying YouTube for Premium access which includes
downloading videos directly from YouTube to watch later. (Exhibit B.) Video was not
illegally downloaded.

Denied.

Denied.

Denied.

Denied. The use of the video has transformed from the Plaintiffs intention to that befitting an
educational discussion. Used to further discussion on the Topic, Plaintiff, and spur further
commentary from other forum members to further discussion on the Topic.

Denied.

ARGUMENT & LAW

Denied. Plaintiff shows his misuse and misunderstanding of law in case citation, in Hustler
Magazine, Inc. v. Moral Majority, Inc., 796 F.2d 1148 (9th Cir. 1986) The court upheld that
the defendant’s reproduction and distribution was fair use, despite the defendant reproducing
the entire work.

Denied. Defendant adamantly believes that the Plaintiff has illegally denied the co-author
from owning any sense of copyright to the work through strong arm tactics, mentioned in

detail in point 9; unless the Plaintiff can produce a ‘Work For Hire’ contract between himself

and ‘Vacant’.

ANSWER TO COMPLAINT - 2

27

28

Case 3:22-cv-04082-AGT Document 57 Filed 06/13/24 Page 3 of 5

19.

20.

21.

22.

23.

24.

25.

26.

27.

28.

Denied. No intentional maliciousness was committed by Defendant. The absolute last thing
that the defendant wished to do was cause Plaintiff financial harm.

Denied. Heresay.

Denied. The plaintiff has not stated the negligible value of the copyrighted work and has
assumed that he is to be awarded maximum damages. This leads the Defendant to believe this
is a case based out of greed and malice.

Denied. The Plaintiff has not stated the neligible value of the copyrighted work and has
assumed he is to be awarded maximum damages. This leads the Defendant to believe this is a
case based out of greed and malice.

Denied. Plaintiff has not set the market value of his work, and the actual value of his work is
negligable.

Denied. The defendant no longer has access to the account and removal of the video in
question must be through a DMCA request to KiwiFarms. As the video in question is seen as
evidence in this case, the mere notion of deleting the video is a felonious act.

Denied. Action is beyond the scope of the case as the work is a simple one-dollar work, and
the only copy out in the wild is currently hosted on KiwiFarms.

Denied. The requested injuction is beyond the scope of this case.

Denied. Heresay.

Denied. The Plaintiff has not proved the negligable value of his work, the amount of finacial
hardship that the Plaintiff has faced and has assumed he is to be awarded maximum damages.
This leads the Defendant to believe that this case is based upon greed and malice.

PRAYER FOR RELIEF

WHEREFORE, Defendant prays the Honorable Court for the following relief:
For dismissal of the Plaintiffs action with prejudice.
For an order that Plaintiffs shall take no relief from their complaint herein.

For such further and other relief and the Court deems fair and just.

AFFIRMATIVE DEFENSES

ANSWER TO COMPLAINT - 3

27

28

Case 3:22-cv-04082-AGT Document 57 Filed 06/13/24 Page 4of 5

Defendant hereby asserts the following Affirmative Defenses in this case:

ANSWER TO COMPLAINT - 4

First Affirmative Defense
The court lacks venue for this case. If the Plaintiff wishes to continue this case agains|
Defendant, the Central District of California would be the proper choice.

Second Affirmative Defense

1. Plaintiff has failed to register the copyrights in one or more of the products set forth in
their Complaint and is thus not permitted to file this suit or maintain this action.

2. Plaintiff is barred by 17 U.S.C section 412 from claiming statutory damages for
attorney’s fees under the Copyright Act in that any alleged acts of infringement occurred
before first registration of the Plaintiff's alleged work. Plaintiff did not have official
copyright certificate until August 23rd, 2022. If it is indeed official.

Third Affirmative Defense

1. Plaintiff's claims for relief are barred by the “Fair Use Doctrine” pursuant to Section 107

of the Copyright Act, 17 U.S.C. §107

Fourth Affirmative Defense
Plaintiff has not properly filed a DMCA against KiwiFarms and has willfully allowed the
allegations against the Defendant to continue, and “build up fines” to support Plaintiff's case.
If I was the Plaintiff, I’d file a DMCA against KiwiFarms to ensure that my copyright is no

longer violated; however, this action leads the defendant to believe this is based out of greed
and malice.

Fifth Affirmative Defense
Plaintiff has recently been labelled as a Vexatious Ligitant in this district in relation to filing
cases related to Copyright, see (Exhibit C). The Defendant would like the Court to review the

Plaintiff's filings in this case. Defendant has also noticed an error on Plaintiff's In Forma

Pauperis application with the miscategorization of SSI payments as not related to Disability.

COUNTERCLAIM

Case 3:22-cv-04082-AGT Document 57 Filed 06/13/24 Page 5of5

1. After receiving my information from YouTube the defendant not only decided to violate the
privacy of many others that are not the defendant, but also to make a video that exposes
peacemeal information related to the Defendant in a video that is audibly set up to sound like
it’s to be released to his public channel for viewing, see Exhibit D; intending to release my
personal information through intimidation, and promptly emailed that video to emails that
Defendant owns and many that the Defendant does not.

2. Defendant received several threatening and harassing text messages from the Plaintiff after he
received Defendant’s personal information. The behavior displayed in the texts is not of a
professional manner and is of spite and malice. See Exhibit E.

3. Defendant’s mental capacity has been lowered as the Plaintiff is an unstable individual that
has, in the past, threatened at least one University with a ‘Virginia Tech Incident’ (Stebbins v.
University of Arkansas (5:10-cv-05125) ) and the Defendant fears for his life if the Plaintiff
wins this case.

4. Plaintiff has contacted the Defendant with an offer to settle, albeit at the behest of consulting
a lawyer; the Defendant has decided to not respond further, see Exhibit F, as the Plaintiff
seeks to use extortion and blackmail tactics as well as show misunderstanding that the

Plaintiff believes this case is a Criminal Case and not a Civil Case.

Dated June 13th, 2024

Jones, Pro soy”

ANSWER TO COMPLAINT - 5

